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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

 IN RE APPLICATION OF USA FOR
 2705(b) NONDISCLOSURE ORDER FOR                   SC No. 20-sc-03082
 GRAND JURY SUBPOENA
 GJ2020111968168                                   Filed Under Seal


                                             ORDER

       This matter having come before the Court pursuant to an application under 18 U.S.C.

§ 2705(b) requesting an order directing Twitter, Inc. (“PROVIDER”), an electronic

communication and/or remote computing service provider located in San Francisco, California,

not to notify any other person of the existence of subpoena number GJ2020111968168 issued by the

United States on behalf of a federal Grand Jury empanelled in the United States District Court for

the District of Columbia (the “Subpoena”), the Court finds reasonable grounds to believe that such

disclosure will result in flight from prosecution, destruction of or tampering with evidence,

intimidation of potential witnesses, and serious jeopardy to the investigation.

       IT IS THEREFORE ORDERED that, pursuant to 18 U.S.C. § 2705(b), PROVIDER and

its employees shall not disclose the existence of the Subpoena to any other person (except attorneys

for PROVIDER for the purpose of receiving legal advice) for a period of 90 days (commencing

on the date of this Order), unless the period of nondisclosure is later modified by the Court.

       IT IS FURTHER ORDERED that the application and this Order are sealed until otherwise

ordered by the Court.                                                   2020.11.23
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                                                      ___________________________________
                                                      UNITED STATES MAGISTRATE JUDGE
